          Case 1:19-cv-01664-GHW Document 1 Filed 02/22/19 Page 1 of 14

JUDGE vVOODS


                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF NEW YORK

    COGNIZANT WORLDWIDE LIMITED and                          )
    COGNIZANT TECHNOLOGY SOLUTIONS
    U.S. CORPORATION,                                        ~
                                                             ) Case No.
                                                                               1 t..lQ
                                   Plaintiffs,               )
                                                             ) JURY TRIAL DEMANDED
    v.                                                       )
                                                             )
                                                             )
    BARRETf BUSINESS SERVICES, INC.,                         )
                                                             )
                                   Defendant.                )

                                                 COMPLAINT

            Plaintiffs Cognizant \Xfor!dwide Limited and Cognizant Technology Solutions U.S.

 Corporation (collectively, "Cognizant"), bring this action against Barrett Business Services, Inc.

    ("BBSI"), and allege as follows:·

           I.         NATURE OFTHE ACTION

            1.        This is an action to recover amounts that BBSI has refused to pay Cognizant for

 services rendered under the parties' contract, under which Defendant BBSI retained Cognizant to

 provide preliminary advice and a diagnostic evaluation regarding the implementation of a cloud-

 based software product that BBSI purchased from Oracle America, Inc. ("Oracle").

           2.         Oracle is a computer technology company that, inter alia, develops and markets

 database software and cloud-based data systems. Oracle is not a party to this Action, and no agency

relationship exists between Oracle and Cognizant. Oracle and Cognizant do not share employees.

           3.         Under Cognizant's contract ,vith BBSI, Cognizant agreed to provide specific

"deliverables" to BBSI.




-                Cognizant provided BBSI v.iith all deliverables required under the contract, and BBSI




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         Case 1:19-cv-01664-GHW Document 1 Filed 02/22/19 Page 2 of 14



accepted those deliverables. Pursuant to the contract, Cognizant billed BBSI a total of $425,057.38

for these deliverables. BBSI has refused to pay $294,388.73 of the amount due. Cognizant brings

this Action to recover the amount that BBSI owes under the contract, plus appropriate interest.

II.     PARTIES

        4.      Plaintiff Cognizant Worldwide Limited is, and at all times mentioned in this

Complaint was, a private limited company incorporated under the laws of England and Wales, with

its principal place of business in London, United Kingdom.

        5.      Plaintiff Cognizant Technology Solutions U.S. Corporation is, and at all times

mentioned in this Complaint was, a corporation formed under the laws of Delaware, with its

principal place of business in Texas.

        6.      Defendant BBSI is, and at all times mentioned in this Complaint was, a corporation

formed under the laws of the State of Maryland, with its principal place of business in the State of

Washington.

III.    JURISDICTION AND VENUE

        7.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because the

matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is

between citizens of different States and between citizens of a State and citizens of a foreign state.

        8.      Venue is proper in this District under 28 U.S.C. § 1391, because Defendant is a

resident of and/or conducts business in this District and because Defendant consented to venue in

this Court in the July 21, 2017 Master Services Agreement (the “MSA”) (attached as Ex. 1)

governing this dispute.

        9.      This Court has personal jurisdiction over Defendant because Defendant consented

to the jurisdiction of this Court in the MSA governing this dispute.




                                                   2
        Case 1:19-cv-01664-GHW Document 1 Filed 02/22/19 Page 3 of 14




IV.     FACTUAL ALLEGATIONS

        10.     Cognizant is a multi-national company 1þ¿¡ provides information technologl'

serwices, including drgital, technology, consulting, and operations scn'ice.

        n.      BBSI is a publicly traded compân)r thât provides business lnânagerltcnt sen'iccs,

including pa1,¡ell 1nânagement and other administrative sen'ices. BBSI's headquatters is locatecl in

Washingfon state and it supports clìents through a netrvotk of branch locations located throughout

the United States.

                     BBSI's Discussions with Cognizant Regarding an Upgrade
                              to Its Information Technology Systems

        12.




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Case 1:19-cv-01664-GHW Document 1 Filed 02/22/19 Page 4 of 14




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        Case 1:19-cv-01664-GHW Document 1 Filed 02/22/19 Page 5 of 14




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                        BBSI Enters Conttacts with Oracle and Cognizant

        21.     On information and belie f, BBSI entered into a contract wrth Oracle for the

purchase ofan upgraded, cloud-based sofru'are package in February 2018. Cognizant is not a parq¡

to that colltract and was rrot invoh.ecl in anl' rvay iu the negotiation of the terms of thât conttact.

        22.     BBSI and Cognizant had        a pre-existrng relaúonship that pre-dated the dispute set


forth in this Complaint. In connection unth that relationship, Cognizant Worldwide Limited and

                                                          .   -Ïhat   MS-A. was an overarching agteement
BBSI lrad enteted into the MSA on     JulSr   )1,201'7

governing any and all senices that Cognízant would provide for BBSI. In connection rvith specifìc

projects, the MSA states in section 1.1 that Cognizant and BBSI:




        23.     In March 2018, Cognizant \ùTorldwide Limited and BBSI enteted into                a Statement   of

\\¡ork #CTS001 ('SO\X/") (attached     as   llx.   2), relating to the irnplementatjon of the Otacle cloud



        i "PaaS" is an industry abbreviation of "Platform          âs a Setwice," which refers to a category of
cloud-based computing serwices that provide          a   platform on u'hich customefs can develop, Lun, attd
manage applications.


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            Case 1:19-cv-01664-GHW Document 1 Filed 02/22/19 Page 6 of 14




product. That SOW u'as signed by BBSI on March 9,2018 and by Cognizant on ltdarch l'3,2018

Consistent rvith sectior-r 1.1 of the lVfS-À, tl-re SO\X/ states that


I
            24.   The SOW rvas entitled "RBSI Oracle Cloud IICN{        /   H,IìP Äccelerate" and applied

only to the initial "Á.ccelerate" phase of the project. Consistent u'ith the parties' prior dìscussions,

the SOW set forth




Ex.2 at5-6.

            25.   The SOW also sets forth




Id. at 2.

            26.   Simrlady, section 1.2 of the MSÂ states:




                                                         6
        Case 1:19-cv-01664-GHW Document 1 Filed 02/22/19 Page 7 of 14




                                                   Ex. 1 $ 1.2.

        27.     The SOW




        28.     Under section 3.1 of the MSÂ, BBSI was required to




        29.     On May 9,2018, Cognizant and BBSI




     Cognizant Provided BBSI with AII Deliverables Required Under the MSA and SOW
                         and BBSI Accepted Those Deliverables

        30.     Cognizant provtded BBSI with all of the deliverables set forth in the SOW on or

about the dates set forth in the table below. BBSI either expressly approved those deliverables in

writing on or about the dates set forth in the tal¡le




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     Case 1:19-cv-01664-GHW Document 1 Filed 02/22/19 Page 8 of 14




Ðeliverable stated in   Deliveral¡le(s) provided     Acceptance
       sow




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       Case 1:19-cv-01664-GHW Document 1 Filed 02/22/19 Page 9 of 14




           BBSI Dramatically Changed the Scope of the Implementation Project
    After Many of the Deliverables in the Accelerate Phase $/ere Ptovided and Accepted

        3I.    While Cognizant's rvork on the Äccelerate wâs ongoing       -   and in fact after many   of

the deliverables had been provided and accepted by BBSI     -   BBSi raised the possibiliry   of

substantialll¡ expanding the scope of the post--A.ccelerate implementation project.

        32.    In a meeting on Ma1' 24,2018, BBSI made clear for the ftst time the scope of this

cL'amatic expansion




        .).)




                                                   9
Case 1:19-cv-01664-GHW Document 1 Filed 02/22/19 Page 10 of 14




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       Case 1:19-cv-01664-GHW Document 1 Filed 02/22/19 Page 11 of 14




        35.       The June 25 presentation also highlighted certain options and possible

customizations that BBSI rvould have to choose belween      if   the project were to go forward,

including




        36.       Äfter theJune25,2018 presentation, BBSI indicatecl that it would not proceed with

the Oracle cloud product or Cognizant's implementafion of that product'

            BBSI Has Refused to Pay the Amounts Due Under the MSA and SOW

        37.       Over the course of its engagement by BBSi, Cognizar-rt invoiced BBSI a total     of

fi425,057 .38   for the work Cognizânt performed pursuant to the MSA and SOW, as follorvs:

                        Invoice #          Invoice Date          Due Date         Amount
                   cw   101-0000091392 ÂpriÌ23,2018        }t4av 23,201.8          $12,970.00
                   cw   10i-0000092983 Âpril30, 2018       May 30,2018           $134,668.ós
                   cw   101-0000109863     N{ay f1,2613    Tune 30,2018            $43,698.50
                   cw   101-0000109942 Malr    ll,2g1g     Tune 30,2018          fi172,547.55
                   cw   10i-00001.1.4226   Tune 30, 2018   Iulv 30,2018            $4s.560.70
                   cw   101-00001,27782    Tulv 5,2018     August 4,201.8          $19,611.98



        38.       Secúon 3.1 of the MSA provides




                                                    1,1,
       Case 1:19-cv-01664-GHW Document 1 Filed 02/22/19 Page 12 of 14




        39'     Nonetheless, BBSI has made only the followi.g Pâ)'ments for rvork conducted under

the MSA and SOW:

                       Invoice #           Invoice DatePayment Date              Amount
                 cw   101-0000091.392 1'pn|23,201.8 Iulv 17,2018                   $s,137.10
                 cw   101-0000092983 ,A.pril 30, 2018 luly 27,2018               $134,6ó8.65



        40.     On Decemb er 7 ,2018, Cognizant notified BBSI by letter that it had failed to pay for

the deliverables under the MSÀ and SOW and that the relevant invoices totaled $294,388.73. The

December 7,2018letter further stated that BBSI's nofl-payment of Cognizant's pending iuvoices

consdruted a matetial breach of the t\4S,\ and SOW, and the letter demanded that BBSI provide full

payment wrthin 30 da¡'s of that letter.

        4L.     Âs of the clate of fìling, BBSi has not made any addiuonal payments to Cognizant.

V.      CLAIMS FOR RELIEF

                                              COUNT ONE
                                            Breach of Contract

        42.     Cognizant re-alleges paragraphs 1 through 41 o[ this Complaint, as though fully set

forth herein.

        43.     Cognizant and IIBSI rvere parties to tl're valid and binding MS,\ and SOW, Pulsualrt

to which the parties agreed that Cognizant would provide specified deliverables to BBSI iu exchange

for payment.

        44.     Cognizant provided those deliverables to BBSI, pursuânt to the MSr\ and SOW.

        45'     BBSI accepted the deli'erables provided to it b1' cogntzant under the MSA and

sow.

        46.     Notwithstanding Cognizant's performance under the terms of the l\4SA and SOW,

and BBSI's acceptance   of   tl-rat performance,   BBSI has failed to make pâyments required by the


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          Case 1:19-cv-01664-GHW Document 1 Filed 02/22/19 Page 13 of 14




contracts in the amount of at least $294,388.73, plus contractual and any applicable pte-judgrnent

lnterest.

            47   .      As   a result   of BBSI's continued rlolr-pâyfirent for   serwice s delivered b)' Cognizant,


Cognizant has been harmed in the arnount of at least $294,388.73, excluding contractual interest and

any applicablc prc-judgrncnt interest.

            48.         \X/I{EIIEFORE, Cognizant requests the Court to enter judgment in its favor against

Defendant BBSI, awarding all damages, in an amount to be pro\¡erl at trial, costs, and such other

relief   as the      Court deetns appropriate and just.

                                                      COUNT TWO
                                                     Unjust Enrichment

            49.         Cognizantre-alleges paragraphs 1 through 41 of this Complaint, as though fully set

forth herein.

            50.         Cogntzant conferred a valuable benefìt on BBSI b1' providing advice and other

sen'ices to BBSI, includrng the deliverables described herein, at BBSI's request.

            51.         BBSI accepted and benefìted from the advice, sen'ices, and deliverables Cognizant

provided to it.

           52.          The advice, services, and deliverables Cognizânt pro\¡ided to BBSI at Cognizatrt's

expense were worth at least $425,057.38, in which amount Cognizant tirnely billed BBSI.

           53.          Despite BBSI's âcceptance of Cognizant's advice, senices, and delivetables, and

despite the benefits Cognizant thereby conferted on BBSI, BBSI has failed to pay at least

fi294,388.73 of the amounts bilìed and owing, plus any applicable pre-judgment interest.

            54.         Equity and good conscience require that IIBSI pay restitution to Cognizant in the

amount of at least 5294,388.73 plus any applicable pre-judgment interest.




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       Case 1:19-cv-01664-GHW Document 1 Filed 02/22/19 Page 14 of 14




       WIIEREFORE, Cognizant requests the Court to enter judgment in its favor against

Defendant BBSI, awarding all darnages or restitution, in atr       ât-r-rount   to be ptorretr at uial, costs, and

such other relief as the Court deems appropriate and iust.

                                                 Iurv Demand

       Plaintiff hereby demands a trial lry iury of all issues properll' triable.



Dated: F-ebmaty 22, 201.9


                                                         By'

                                                         Ândrerv C. Shen
                                                         .A.ndrerv M. Hetherington
                                                         KELLOGG, HANSI],N, TODD,
                                                          þ-IGi]L & FRE,DE,RICK, P.L.L.C.
                                                         1615lvf Srreer, N.\X/., Suite 400
                                                         \Xiashington, D.C. 20036
                                                         Phone: (202) 326-7900
                                                         Fax: (202) 326-7999
                                                         ashen@kellogghansen.com
                                                         ahetherington@kellogghansen. com

       ,AtÍorney for   Cogi4tnt   llTorldwide Liruited and Cogiqant Technologt Solalions U.S. Cotþoration




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